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Yates, Gregg (USAH|)

From: Timothy Rodrigues <_bop.gov>

Sent: Thursday, April 18, 2019 2120 Pl\/l
To: Yates, Gregg (USAl-ll)

Subject: Williams hard drives - wait until l\/iay
Attachments: Threats 2.pdf,' Fire.pdf; Threats 1.pdf
Hi Gregg,

The Warden approved the hard drives and there is a memo in place allowing Lars to enter with them. l-lowever, Lars may
as well not attempt this for the next three weeks. Williams will be in SHU until then and getting Lars a contact visit in
SHU for this purpose is another hurdle.

Williams got a BO-day suspended SHU sentence following his attempt to incite a group demonstration on 3/13 (see att
"Fire" email). The email is Williams’ characterization of what occurred in reality, using his oratory prowess, he
completely obstructed the fire drill and attempted to rally the unit to resist the staff, lest they court death during an
actual fire.

Following his threating/inso|ent emails to staff on 4/9, he was sent to SHU. Williamsjust had his disciplinary hearing and
got the 30 days imposed from the group demonstration charge. We're being mindful of allowing him access to research
and his other e-discovery while in SHU and l've asked them to thoroughly document everything

He should be back in GP around l\/lay 9th. The memo is already in the lobby for when that time comes.

Tim

> > > Timothy Rodrigues 4/10/2019 2:22 P|\/| > > >
Hi Gregg, ‘

Williams was put in SHU for insolence and threats to staff. Please see attached

l'll be out tomorrow and Friolay but can follow up on this and the hard drive issue on l\/|onday.
Tim

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